                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                   Plaintiff,                     )
                                                  )
      v.                                          ) Criminal Action No.
                                                  ) 15-06007-08-CR-SJ-BP
JONO DEAN HAMLIN,                                 )
                                                  )
                   Defendant.                     )

                                            ORDER

       On November 17, 2016, Defendant was ordered to undergo a competency evaluation.

Defendant was examined by William S. Logan, M.D. It is the opinion of Dr. Logan that

Defendant is competent to proceed. During a hearing held before United States Magistrate Judge

Robert Larsen on April 6, 2017, Defendant and the government stipulated to the report of Dr.

Logan. Therefore, after making an independent review of the record, it is

       ORDERED that the Report and Recommendation of Magistrate Judge Robert Larsen is

adopted in its entirety, and this court finds that Defendant is competent. It is further

       ORDERED that, pursuant to 18 U.S.C. §§ 3161(h)(1)(A) and (h)(4), the time between

November 17, 2016, and the date of this order is excluded in computing the time within which the

trial of this criminal action must commence.

IT IS SO ORDERED.




                                                      _/s/Beth Phillips
                                                      BETH PHILLIPS, JUDGE
DATE: April 13, 2017                                  UNITED STATES DISTRICT COURT




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